              Case 2:06-mj-30173-DUTY ECF No. 11, PageID.27 Filed 04/12/06 Page 1 of 2
AO 472 (Rev. 05/05) Order of Detention Pending Trial


                                        UNITED STATES DISTRICT COURT
                                                       Eastern District of Michigan
         UNITED STATES OF AMERICA
                    V.                                                            ORDER OF DETENTION PENDING TRIAL
          LABARON SCHARD WARDLAW                                              Case Number: 06-30173-01
                            Defendant
    In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts require the
detention of the defendant pending trial in this case.
                                                              Part I—Findings of Fact
G    (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a G federal offense              G state
         or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed - that is
         G a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
         G an offense for which the maximum sentence is life imprisonment or death.
         G an offense for which a maximum term of imprisonment of ten years or more is prescribed in
                                                                                                                                                        .*
         G a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18 U.S.C.
              § 3142(f)(1)(A)-(C), or comparable state or local offenses.
G (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local offense.
G (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from imprisonment
      for the offense described in finding (1).
G (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably assure the
      safety of (an) other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                              Alternative Findings (A)
G (1) There  is probable  cause  to believe that the defendant has committed an offense
      G for which a maximum term of imprisonment of ten years or more is prescribed in                                                           .
      G under 18 U.S.C. § 924(c).
G (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will reasonably assure
      the appearance of the defendant as required and the safety of the community.
                                                              Alternative Findings (B)
G (1) There  is a serious risk that the defendant  will not appear.
✔ (2) There is a serious risk that the defendant will endanger the safety of another person or the community.
G




                                            Part II—Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by                                       ✔a prepon-
                                                                                                     G clear and convincing evidence G
derance of the evidence that
Defendant Wardlaw, a felon, was convicted of 2 counts of felony armed robbery on 3/5/90 and was sentenced to 18 months - 10
years imprisonment. He was discharged on 5/30/95.On 6/5/01 defendant was convicted of felony weapons/firearms and was
sentenced to two years of confinement. He was at the same time found guilty of felony assault with a dangerous weapon and was
sentenced to three years probation. His discharge date was 3/8/03. On 4/3/06 he was charged with violations of 18 U.S.C. 922(g)
(1), 18 U.S.C. 924© and 21 U.S.C. 841 (a)(1), [Knowingly Distributing and Possessing with Intent to Distribute Cocaine Base,
Knowingly Possessing Heroin with Intent to Distribute, (Continue on page 2)
                                                   Part III—Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections facility separate,
to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United States marshal for the purpose of an appearance
in connection with a court proceeding.
               April 12, 2006                          s/ Mona K. Majzoub
                     Date                                                                      Signature of Judge
                                                       MONA K. MAJZOUB UNITED STATES MAGISTRATE JUDGE
                                                                                           Name and Title of Judge
*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951
et seq.); or (c) Section 1 of Act of Sept. 15, 1980 (21 U.S.C. § 955a).
  Case 2:06-mj-30173-DUTY ECF No. 11, PageID.28 Filed 04/12/06 Page 2 of 2




06-30173-01 USA v LABARON SCHARD WARDLAW                      PAGE 2


Possessing Firearms after being Convicted of a Felony Offense, Possessing Firearms during the
Commission of the aforementioned Drug Trafficking Offenses].
Defendant was surveilled for a six month period during which time he allegedly participated in
several drug sales to a CI (10.4 grams of cocaine on 10/25/05; 1 oz of crack cocaine in early
March, 2006; and a third sale of crack cocaine on March 16, 2006).
A search warrant for 618 Center Street (defendant’s alleged residence) was executed on 3/24/06
and Wardlaw present agents recovered 7 ½ oz of crack cocaine, 45 thimbles of heroin, quantities
of ammo, and Intertec 9 mm handgun, a Saiga 410 shotgun, a Rossi .38 caliber handgun with an
obliterated serial number, an electronic scale covered with (field tested) cocaine base, a
telephone bill addressed to this defendant at the 618 Center Street, plastic baggies, and
documents bearing defendant Wardlaw’s name, among other things. Defendant admitted that he
was a renting resident of the house.
The illegal drugs were found secreted away in the drop ceiling of the house and in the garage.
Guns were also found and hidden in the drop ceiling.
Defendant is marginally employed, (he takes care of his mother and brother). His probation was
discontinued on 10/14/05 and the controlled buys alleged in this case began one week later on
10/21/05. Defendant has a long history of violence and now faces serious charges again
(potentially a 15 year mandatory minimum). He poses a risk of flight and is a danger to the
community. Nothing short of detention will protect society or assure his appearance at trial.
